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                                CERTIFICATE OF SERVICE

       I hereby certify that arrangements have been made to, on this date, deliver a true and

correct copy of the foregoing by hand delivery to the following at the below addresses:

       David Cofield, Sheriff                             Hon. Jill Puckett, Magistrate
       Randolph County Sheriffs' Office                   Randolph County District Comi
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

       Christopher May, Circuit Clerk                     Hon. Clay Tinney, Judge
       Randolph County Circuit Court                      Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

Formal proof of service will be filed with the Court when completed.

       I further certify that arrangements have been made to, on this .date, deliver a true and

correct comiesy copy of the foregoing by hand delivery and by electronic mail to the following:

       James W. "Jim" Davis, Section Chief                Jamie H. Kidd
       Constitutional Defense Section                     J. Randall McNeill
       Office of the Attorney General                     WEBB & ELEY, P.C.
       501 Washington Avenue                              P.O. Box 240909
       Montgomery, AL 36104                               Montgomery, AL 36124
       E: jimdavis@ago.state.al.us                        E: jkidd@webbeley.com
                                                          E: rmcneill@webbeley.com
       John Alvin Tinney
       Randolph County Attorney
       P.O. Box 1430
       Roanoke, AL 36274-9121
       E: j ohntinneyattorney@gmail.com

on this May 18, 2017.


                                      Samuel Brooke
